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                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
____________________________________________________________________

DASHEAN KEITH WILLIAMS,

                Petitioner,

v.                                                                         Case No. 17-13995

CATHERINE BAUMAN,

           Respondent.
________________________________/

                                              JUDGMENT

        In accordance with the “Opinion and Order Denying the Amended Habeas

Corpus Petition, Denying a Certificate of Appealability, and Granting Leave to Appeal In

Forma Pauperis” entered on January 11, 2021,

        IT IS ORDERED AND ADJUDGED that judgment is entered for Respondent

Catherin Bauman, and against Petitioner Dashean Keith Williams. Dated at Port Huron,

Michigan, January 11, 2021.

                                                           KINNIKIA ESSIX
                                                           CLERK OF THE COURT

                                                           By: s/Lisa Wagner
                                                            Lisa Wagner, Case Manager
                                                            to Judge Robert H. Cleland
S:\Cleland\Cleland\JUDGE'S DESK\C2 ORDERS\17-13995.WILLIAMS.Judgment.RMK.docx
